 Case 2:15-cv-02018-PKH Document 13                Filed 09/11/15 Page 1 of 2 PageID #: 50




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF ARKANSAS


SHEILA RAMSEY                                                                      PLAINTIFF

vs.                            Case Number: 2:15-cv-02018-PKH

DOLGENCORP, LLC
a/k/a DOLLAR GENERAL                                                               DEFENDANT



                  STIPULATION OF DISMISSAL WITHOUT PREJUDICE


         Now on this _______ day of _______________, 2015, there is presented to the Court, the

Stipulation of Dismissal Without Prejudice; the Plaintiff appearing by and through her attorney

Richard H. Strunks; the Defendant appearing by and through their attorney Amber Davis-

Tanner; the Court being well and sufficiently advised in the premises, finds and orders:

      1. That both parties to this matter have stipulated that this matter should be dismissed

         without prejudice and indicated same by their signatures herein.

      2. That pursuant to FRCP Rule 41(a)(1), the above captioned matter is hereby dismissed

         without prejudice.
 Case 2:15-cv-02018-PKH Document 13      Filed 09/11/15 Page 2 of 2 PageID #: 51




       IT IS SO ORDERED.




                                                 ______________________________
                                                 Honorable P.K. Holmes
                                                 DISTRICT JUDGE




APPROVED AS TO FORM AND CONTENT:


Richard H. Strunks
Richard H.Strunks
Attorney for Plaintiff Sheila Ramsey

Amber Davis-Tanner
Amber Davis-Tanner
Attorney for Defendant Dolgencorp, LLC
